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MANAGERIAL EFFICIENCY IMPROVEMENT INITIATIVE (MEII)
Section I: Overview and Attestation
   A. Overview: Objectives and Instructions:
   •    The purpose of this form is to identify positions that can be eliminated without compromising the
        the provision of necessary services to the System.
   •    Each identified stakeholder should populate this form for each position under consideration base
        of all of the completed forms
   •    A copy of the completed forms should be maintained by the facility Human Resource Departmen
   •    Please submit in electronic format (email) the (1) completed and signed form for those positions
        documents as identified below to Central Office Human Resources and to the leadership of your

   B. Required Supporting Documents for Positions Identified for MEII consideration ONLY:
   • The following documents were used and submitted as part of the MEII review (check all that apply)
           Corporate job description for the position under review
           Functional job description for the position under review (must be reviewed and provided
           List of names of employees, their titles, job group and functional job descriptions of the e
                considered to absorb or assume the critical functions of the position under review (this in
                answer to Question 4 in Section II)
           An explanation of how critical functions will be redistributed (if applicable based on answ
           Departmental Organizational Chart, if available and applicable
           Any and all documents that were reviewed and/or utilized as the basis for identifying this
                than those identified above are utilized, you must describe the document(s) below.
                _________________________________________________________________________
                _________________________________________________________________________

   • The following documents and/or considerations cannot be reviewed and/or utilized as a basis for M
          •    Performance Evaluation Ratings
          •    Disciplinary History
          •    Time and Attendance Records

   C. Signature of Completion
     Reviewer Name:         _______________________________

     Title and Department: _______________________________

     Signature:             _______________________________

     Date:                  ________________________________




                                                                                                              D_003505
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 mising the advancement and delivery of patient care or safety and/or

ation based on the selection criteria (see Section II) and maintain a copy

 epartment.
e positions that are identified for MEII consideration and (2) supporting
ip of your respective service line.


hat apply)

d provided for any position submitted for MEII consideration)
ns of the employees who are currently performing and/or will be
ew (this information must be reviewed and provided based on a “yes”

 d on answer to Question 4 in Section II)

tifying this position (e.g., metrics, process flows). If documents other
low.
__________________________________________________________
________________________________________

basis for MEII review:




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Important Instructions:
See tab 2 for footnotes that correspond to each question (from A-D)

First Name           Last Name      Employee ID Facility       Department Name   Position # Title




                                                                                                    D_003507
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Supervisor Name    1) Can the position and all        2) Are there ongoing / planned changes
                  associated responsibilities be   (technological advancements, organizational
                     completely eliminated?          changes) that eliminates the need for the
                       (See Footnote 1)                              position?




                                                                                                 D_003514
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3) Are any of the responsibilities of the 4) Can all of the responsibilities
position deemed to be critical currently deemed to be critical be readily
being performed by other employees? absorbed by existing employees?
          (See Footnote 2)                     (See Footnotes 3 & 4)




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Footnotes:
1. Some considerations in identifying positions for MEII consideration may include, but is not limite
   redundancy in roles, or excess capacity within a work group or across work groups, such that it w
   reduce the number of positions in a unit or department. Positions considered for MEII must be b
   consideration of the performance and/or employment history of the individual serving in the ro

2. Critical responsibilities are any associated functions of the position under review that are essent
   care or safety and/or the provision of necessary services to the System.

3. For example, the position under review may be so technically complicated that other Group 11 s

4. Consider if it may require additional training and/or the need to build additional competencies f
   transfer responsibilities associated with the critical responsibilities of the position under review.




                                                                                                           D_003528
